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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION
 DISPLAY TECHNOLOGIES, LLC,

                       Plaintiff,
                                                      Civil Action No. 2:15-cv-998-JRG-JRP
                v.
                                                          CONSOLIDATED LEAD CASE
 NVIDIA CORPORATION, et al.,
                                                            JURY TRIAL DEMANDED
                       Defendants.


                           JOINT MOTION TO STAY DEADLINES

        Plaintiff Display Technologies, LLC (“Plaintiff”), and Defendant Sony Computer

 Entertainment America LLC (“Defendant”) have reached an agreement in principal that resolves

 all claims asserted between them in the above-entitled and numbered action. The parties expect

 to jointly file a dismissal with prejudice of all claims and a dismissal without prejudice of all

 counterclaims within 30 days. Accordingly, Plaintiff and Defendant respectfully request the

 Court stay all deadlines between them for 30 days, up to and including November 20, 2015.

 Plaintiff and Defendant request this stay, not for the purposes of any delay, but so that they may

 finalize and file dismissal papers without incurring additional expenses.
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       DATED October 21, 2015.            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 21st day of October, 2015, I electronically filed the foregoing
 document with the clerk of the court for the U.S. District Court, Eastern District of Texas,
 Marshall Division, using the electronic case filing system of the court. The electronic case filing
 system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in
 writing to accept this Notice as service of this document by electronic means.

                                              /s/ Stevenson Moore___
                                              Stevenson Moore
